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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

LEEANN RICHERSON,

      Plaintiff,

v.                                             Case No. 1:17-cv-00899

GEICO GENERAL INSURANCE COMPANY,

      Defendant.

                                NOTICE OF REMOVAL

      Defendant GEICO General Insurance Company (“GEICO”), by and through its

counsel of record, Chapman and Priest, P.C. (Donna L. Chapman and Jessica C. Singer)

for the extra-contractual claims only, and Perry Law, P.C. (Meloney Perry), for the

underinsured motorist claims only, hereby files this Notice of Removal pursuant to 28

U.S.C. §§ 1332, 1441 and 1446, and in support thereof, states as follows.

      1.     Plaintiff Leanna Richerson, (“Plaintiff”) filed her Complaint for Damages

(“Complaint”) in the First Judicial District, Santa Fe County, State of New Mexico, in

Cause No. D-101-CV-2017-01950, on July 11, 2017. See Plaintiff’s Complaint, hereto

attached as Exhibit A.

      2.     GEICO was served with the Summons and Complaint on July 31, 2017.

See Acceptance of Service, attached hereto as Exhibit B.

      3.     In her Complaint, Plaintiff states she is a resident of the State of New

Mexico. Exhibit A at ¶ 1.

      4.     Defendant GEICO asserts GEICO is incorporated and its principal place of

business is in the state of Maryland.
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